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7    Attorneys for Plaintiff
8
                      UNITED STATES DISTRICT COURT
9
                     CENTRAL DISTRICT OF CALIFORNIA
10
     ELIZA SEDAGHATFAR, individually,)                  Case No.
11
                                             )
     and on behalf of all others similarly
12                                           )
     situated,                               )           2:21-cv-04490-PA-E
13
                                             )          NOTICE OF VOLUNTARY
     Plaintiff,                                         DISMISSAL OF ACTION WITH
14
                                             )
15   v.                                      )          PREJUDICE AS TO PLAINTIFF
                                             )          AND WITHOUT PREJUDICE AS
16   SIMPLE MOVING, INC., and DOES 1                    TO THE PUTATIVE CLASS.
                                             )
17   through 10, inclusive, and each of them )
                                             )
18   Defendant.
                                             )
19

20   NOW COMES THE PLAINTIFF by and through their attorneys to respectfully
21   move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22   and without prejudice as to the class. No Defendant has filed either an answer or
23   a motion for summary judgment at this time, and no Court order is necessary
24   pursuant         to         the               Fed.            R.         Civ.   P.
25   Respectfully submitted this 10th Day of August, 2021,
26
                                             By: s/Adrian R. Bacon Esq.
27
                                                  Adrian R. Bacon
28                                              Attorney for Plaintiff



                                       Notice of Dismissal - 1
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1                            CERTIFICATE OF SERVICE
2
     Filed electronically on August 10, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on August 10, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9                                            By: s/Adrian R. Bacon Esq.
                                                  Adrian R. Bacon
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                                                  Attorney for Plaintiff
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                                       Notice of Dismissal - 2
